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                                                        Filed: October 28, 2020
ALB:FJN/JPL/G K
F. #2018R01809

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OFNEW YORK
------------------------------X
UNITED STATES OF AMERICA                                S UPE R S E D IN G
                                                        IN D I C T M EN T
       - against -
                                                        Cr. No. 19-386 (S-1) (PKC)
MUSTAFA GOK.LU,                                         (T. 18, U.S.C., §§ 982(a)( l ),
    also known as "Mustangy,"                            982(b)( l ), 1956(a)(3)(B), 1960(a), 2
                                                         and 3551 et seq.; T. 21, U.S.C.,
                        Defendant.                       § 853(p))
------------------------------X
THE GRAND WRY CHARGES:

                                       COUNT ONE
                                     (Money Laundering)

               1.     On or about and between August 28, 2018 and April 30, 2019, both

dates being approximate and inclusive, within the Eastern District ofNew Yark and

elsewhere, the defendant MUSTAFA GOK.LU, also known as "Mustangy," together with

others, did knowingly and intentionally conduct and attempt to conduct one or more financial
transactions in and affecting interstate and foreign commerce, to wit: the transfer and

delivery of United States currency, which transactions involved property represented by a

law enforcement officer and by another person at the direction of, and with the approval of, a

Federal official authorized to investigate violations of Title 18, United States Code, Section

1956, to be the proceeds of specified unlawful activity, to wit: narcotics trafficking, in

violation of Title 21, United States Code, Sections 841 and 846, and to be property used to

conduct and facilitate such specified unlawful activity, with the intent to conceal and disguise
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                                                                                                2


the nature, location, source, ownership and control of property believed to be the proceeds of

such specified unlawful activity.

              (Title 18, United States Code, Sections 1956(a)(3)(B), 2 and 3551 et seq.)

                                         COUNT TWO
                   (Operation of an Unlicensed Money Transmitting Business)

              2.       On or about and between August 28, 2018 and April 30, 2019, both

dates being approximate and inclusive, within the Eastern District of New York and

elsewhere, the defendant MUSTAFA GOKLU, also known as "Mustangy," together with

others, did knowingly conduct, control, manage, supervise, direct and own all and part of an

unlicensed money transmitting business affecting interstate and foreign commerce, to wit: a

digital currency exchange business. which (a) operated without an appropriate money

transmitting license in the State of New York, where such operation is punishable as a

misdemeanor and a felony under New York State law; and (b) failed to comply with the

money transmitting business registration requirements under Title 31, United States Code,

Section 5330 and the regulations prescribed thereunder.

              (Title 18, United States Code, Sections 1960(a), 2 and 3551 et seq.)

                          CRIMINAL FORFEITURE ALLEGATION

              3.       The United States hereby gives notice to the defendant that, upon his

conviction of either of the offenses charged herein, the government   will seek forfeiture in
accordance with Title 18, United States Code, Section 982(a)(l), which requires any person

convicted of such offenses to forfeit any property, real or personal, involved in such offenses,

or any property traceable to such property.
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                                                                                                   3

              4.      If any of the above-described forfeitable property, as a result of any act

or omission of the defendant:

                      (a)     cannot be located upon the exercise of due diligence;

                      (b)     has been transferred or sold to, or deposited with, a third party;

                      (c)     has been placed beyond the jurisdiction of the court;

                      (d)     has been substantially diminished in value; or

                      (e)     has been commingled with other property which cannot be

divided without difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p),

as incorporated by Title 18, United States Code, Section 982(b)(1 ), to seek forfeiture of any
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other property of the defendant up to the value of the forfeitable property described in this

forfeiture allegation.

               (Title 18, United States Code, Sections 982(a)(l) and 982(b)(l); Title 21,

United States Code, Section 853(p))



                                                                 A TRUE BILL




  AJlB.JLCL--
SETH D. DuCHARME
ACTING UNITED STATES ATTORNEY
EASTERN DISTRICT OF NEW YORK
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F. #2018R0109
FORMDBD-34              No. 19-CR-386 (S-1) (PKC)
JUN.85
                                       UNITED STATES DISTRICT COURT
                                         EASTERN District ofNEW YORK
                                                 CRIMINAL DIVISION
                                           THE UNITED STATES OF AMERICA

                                                          vs.

                                                   MUSTAFA GOKLU,
                                               also known as "Mustangy,"
                                                                                     Defendant.
                                            SUPERSEDING INDICTMENT

                         (T. 18, U.S.C., §§ 982(a)(l), 982(b)(l), 1956(a)(3)(B), 1960(a), 2 and
                                          3551 et seq.; T. 21, U.S.C., § 853(p))

                            A true bill.
                                               /·
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                                                        ~
                                                                ·~
                        Filed in open court this _________________ day,

                        of ____________ A.D. 20 ____ _


                                                                                          Clerk
                        Ba~$ ________________________________ _



                              Francisco J. Navarro, Jonathan P. Lax, Gillian Kassner
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